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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Deisy Jaimes, et al.
                               Plaintiff,
v.                                                    Case No.: 1:17−cv−08291
                                                      Honorable Jorge L. Alonso
Cook County, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 15, 2019:


        MINUTE entry before the Honorable Sidney I. Schenkier: Status hearing held. The
parties report on the status of discovery. The matter is set for a status hearing before the
magistrate judge on 2/14/19 at 9:00 a.m. for the purpose of discussing a deposition plan.
(cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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